 Case 4:15-cv-00670-P Document 406 Filed 02/23/21          Page 1 of 1 PageID 9651



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

ANGIE WALLER; and                          §
CHRIS WALLER,                              §
    Plaintiffs,                            §
                                           §
TERRY WAYNE SPRINGER; and                  §
GAYLA WYNELL KIMBROUGH,                    §
    Intervenors,                           §
                                           §
v.                                         §      CIVIL ACTION NO. 4:15-CV-670-P
                                           §
RICHARD A. HOEPPNER,                       §
    Defendant.                             §

                                ORDER STAYING CASE

       Before the Court is the parties’ Joint Motion to Stay Case Pending Interlocutory

Appeal. ECF No. 405. Having considered the parties’ joint motion, and for the reasons

contained therein, the Court ORDERS this case STAYED until further notice following

the conclusion of the parties’ interlocutory appeals.

       In addition, the Clerk of this Court is DIRECTED to administratively close this

case and remove it from the statistical records. However, nothing in this Order shall be

considered a dismissal or disposition of this case.

       SO ORDERED on this 23rd day of February, 2021.
